28 F.3d 1211
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Richard Austin MARTIN, Defendant Appellant.
    No. 93-6716.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 20, 1994.Decided June 20, 1994.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Clarksburg.  William M. Kidd, Senior District Judge.  (CR-87-51-K, CA-90-34-E-K)
      James R. Fox, Jory &amp; Smith, Elkins, WV, for Appellant.
      Elgine Heceta McArdle, Office of the United States Attorney, Wheeling, WV, for Appellee.
      N.D.W.Va.
      AFFIRMED.
      Before WILKINSON and WILKINS, C.J., and SPROUSE, Sr. C.J.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Martin, Nos.  CR-87-51-K;  CA-90-34-E-K (N.D.W. Va.  June 22, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    